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                                                               Plaintiff



                                                               1:24cv312 TBM-RM




                                                               Defendant
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